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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF VIRGINIA
                            ABINGDON DIVISION

UNITED STATES OF AMERICA                        )
                                                )
                                                )      Case No. 1:08CR00024-12
                                                )
v.                                              )          FINAL ORDER
                                                )
PAUL ALSTON VAUGHN, JR.,                        )      By: James P. Jones
                                                )      United States District Judge
                   Defendant.                   )


       For the reasons set forth in the Opinion accompanying this Final Order, it is

ORDERED as follows:

             1.    Paul Alston Vaughn’s Motion to Vacate, Set Aside or

       Correct Sentence, pursuant to 28 U.S.C.A. § 2255, is GRANTED as

       to his claim that the enhancement of his sentence on the basis of prior

       North Carolina convictions under 21 U.S.C. §§ 841(b)(1)(A) and 851

       (West 1999 & Supp. 2012), is unlawful pursuant to United States v.

       Simmons, 649 F.3d 237 (4th Cir. 2011) (en banc), and his sentence is

       VACATED, effective upon his resentencing by this court; all

       remaining § 2255 claims are DISMISSED without prejudice;

             2. The Clerk is DIRECTED to schedule a resentencing hearing

       with the defendant present;
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        3. The Clerk is DIRECTED to make arrangements for the

  appointment of counsel to represent Vaughn for resentencing; and

        4.     The Clerk will send a copy of the Opinion and this Order

  to the defendant at his place of confinement.

                                          ENTER: May 23, 2012

                                          /s/ James P. Jones
                                          United States District Judge




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